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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


SKYWAVE NETWORKS, LLC,

                        Plaintiff,


                                               Civil Action No. 1:24-cv-9650
v.
                                               Judge Georgia N. Alexakis

WILLIAM J. DISOMMA,
PAUL A. GURINAS,
MATTHEW HINERFELD,
JOHN MADIGAN,                                  JURY TRIAL DEMANDED
JUMP TRADING, LLC,
VIRTU FINANCIAL, INC.,

                        Defendants.



                           DEFENDANTS’ MEMORANDUM
                     IN SUPPORT OF THEIR MOTION TO DISMISS
                         THE FIRST AMENDED COMPLAINT
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                                       INTRODUCTION

        This is a classic case of a plaintiff misusing the RICO statute in an attempt to redress

purported injuries not cognizable in any court. On October 7, 2024, Skywave Networks, LLC

(“Skywave”) filed a racketeering complaint naming 14 defendants. Dkt. 7. Skywave’s basic claim

was that Defendants Jump Trading, LLC (“Jump Trading”) and Virtu Financial, Inc. (“Virtu”)

conducted an enterprise that allegedly lied to the Federal Communications Commission (“FCC”)

to obtain experimental licenses to use shortwave radio for commercial trading in their high-

frequency trading (“HFT”) businesses. 1 Skywave alleged that Defendants’ speed advantage using

shortwave radio injured competitive trading firms and caused those competitors lost profits, and it

asserted that Defendants’ FCC submissions amounted to a pattern of wire fraud. Skywave is not

itself a competitive trading firm; rather, it sought to be a telecommunications network technology

provider to HFT firms.

        Skywave claimed that it wanted to apply for a different kind of FCC shortwave license,

which, if granted, would have permitted Skywave to use its “nascent” shortwave technology to

provide wireless telecommunication services to trading firms that competed with Defendants.

Skywave alleged that it lost an investor and a potential trading-firm client for its proposed

technology because they were discouraged by Defendants’ allegedly unlawful competitive

advantage. As a result, Skywave said, it was injured by not being able to build out or commercialize

its proposed shortwave network. Rather than accept the limitations of its own business, Skywave

sought to blame others, and Defendants became its target.




1
  Skywave does not allege that Jump Trading and Virtu collaborate on trading. Their alleged
collaboration is in connection with telecommunications technology, including shortwave
technology that transmits data to facilitate each firm’s independent trades.
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       Defendants responded with a joint motion to dismiss demonstrating that the Complaint was

meritless because, among other defects: (1) the Court had no subject matter jurisdiction; (2)

Skywave did not allege a direct injury or even an injury-in-fact resulting from Defendants’ alleged

conduct; (3) the alleged wire fraud predicates were not directed at obtaining property as required

by 18 U.S.C. § 1343, and the fraud was not alleged with particularity; and (4) the statute of

limitations had long passed. Dkt. 74.

       Rather than attempt to dispute these points, Skywave filed a First Amended Complaint

(“FAC”), Dkt. 90, but that effort is not a whit better. The FAC dropped nine of the entity defendants,

but it doubled down on the incurable defects in the Complaint, even adding another individual

defendant to the list of people accused of criminal conduct on legal theories consistently rejected

by the Supreme Court. In a vain effort to avoid some of the fatal problems in the Complaint,

Skywave resorts to simply omitting prior factual allegations. Ultimately, the FAC fails for the same

reasons as Skywave’s original complaint:

       First, the Court lacks subject matter jurisdiction over Skywave’s claims. The FAC still asks

the Court to second guess the issuance and use of FCC licenses. This is a clear collateral attack on

FCC agency action that cannot be heard by this Court. Skywave does not even attempt to plead

around this fatal defect. Skywave’s claims turn on the validity of experimental licenses issued to

an entity owned by Jump Trading and Virtu, but that matter is committed exclusively to the

jurisdiction of the FCC and the U.S. Court of Appeals for the D.C. Circuit. Moreover, almost all

of the challenged licenses are final agency actions that Skywave never appealed or challenged at

the time they were issued, meaning it cannot now ask any court to consider the propriety of those

license grants.




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       Second, the FAC continues to allege that the direct victims of the supposed racketeering

activity here are Defendants’ competitors in the high-frequency trading business, but Skywave is

a tech company, not a trading entity. Under 18 U.S.C. § 1964(c), a RICO plaintiff must be the

directly injured victim of the purported racketeering activity—but on Skywave’s own theory, its

injury is remote and derivative, and it depends on independent decisions by intervening actors.

Indeed, Skywave still has not even alleged but-for causation because, as it admits, the type of

license it claims that it would have used for its own shortwave technology does not even exist. See

FAC ¶ 120. On the contrary, the FCC has rejected license applications essentially identical to the

license application that Skywave says it would have made (but never did make), and Defendants

are not alleged to have interfered with Skywave’s never-submitted “application” in any way.

       Third, Skywave’s wire fraud theory has not changed and fails as a matter of law. It still

alleges two purported varieties of what it characterizes as “wire fraud,” but neither exists. The first

theory—that Defendants defrauded the FCC to obtain the shortwave licenses—fails because a

government license is not “property” within the meaning of the wire fraud statute. The second

theory—that Defendants somehow committed wire fraud against their respective counterparties to

trades—fails because (i) Skywave never explains the nature of the fraud on these counterparties,

neither with particularity nor even generally; (ii) Skywave does not have standing to pursue alleged

frauds committed against third parties; and (iii) claims of wire fraud in the purchase of securities

are not cognizable under Section 1964(c).

       Fourth, RICO’s four-year statute of limitations requires dismissal: Skywave pleads

knowledge in 2017 of its purported “injury” from the very licenses it complains about. Skywave

attempts to retract some of its prior allegations that it was put on notice of Defendants’ activities




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seven years before the Complaint was filed, but this cannot salvage its claims. The FAC still makes

clear that Skywave knew of these injuries well outside of the limitations period.

        Plaintiff’s filing of an amended complaint rather than simply dismissing the case serves no

purpose other than to vexatiously multiply the proceedings. See 28 U.S.C. § 1927. The FAC should

be dismissed with prejudice.

          FACTUAL ALLEGATIONS OF THE FAC AND THE PUBLIC RECORD

        Defendants Jump Trading and Virtu are high-frequency algorithmic trading firms that

operate on exchanges worldwide. FAC ¶¶ 89, 93. Jump Trading and Virtu indirectly formed a joint

venture known as New Line Networks LLC (referred to as “NLN” in the FAC) and a subsidiary

shortwave transmission research company called 10Band. 2 Id. ¶¶ 86, 123–24. Both Jump Trading

and Virtu had been participants in the low-latency trading community for years. In 2016, 10Band

first applied to the FCC for an “[e]xperimental” license under Part 5 of the FCC regulations to test

the use of shortwave radio technology to transmit financial market data. Id. ¶ 64. In December of

that year, Skywave became aware of that application, id. ¶ 135, and around that same time, it

“heard rumors” that Jump Trading or Virtu may have been affiliated with 10Band, Dkt. 7, Compl.

¶¶ 60–61. 3 The FCC staff granted 10Band’s application for a five-year term, ending in 2021. FAC

¶ 66.


2
 Plaintiffs have also named Jump Trading’s owners, general counsel, and a networking employee
as defendants.
3
 After seeing Defendants’ initial motion to dismiss, which argued that knowledge of these rumors
in 2016 barred Skywave’s claims under the statute of limitations, Dkt. 74 at 24–28, Skywave
omitted this critical fact from the FAC. But Skywave cannot elide this admitted fact from the
record, and the Court can and should consider it. “An amended pleading does not operate as a
judicial tabula rasa. Under some circumstances, a party may offer earlier versions of its opponent’s
pleadings as evidence of the facts therein.” Orgone Cap. III, LLC v. Daubenspeck, 912 F.3d 1039,
1048 (7th Cir. 2019) (citation omitted) (upholding dismissal); see also In re Surescripts Antitrust
Litig., 2020 WL 4905692, at *4 (N.D. Ill. Aug. 19, 2020) (granting summary judgment on antitrust

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       Beginning in January 2020, 10Band applied for multiple renewals and modifications of

this license, as well as for related licenses and their renewals and modifications, and the FCC

granted the applications each time. 4 Id. ¶¶ 67–85. In 2023, 10Band’s renewal was granted for a

two-year term to expire on November 1, 2025. Id. ¶ 68. Until this 2023 license renewal, Skywave

never challenged or appealed any of these license grants. Skywave alleges that Defendants used

the licenses for shortwave radio signals that transmit data to facilitate inter-continental HFT and

other low-latency trading. Id. ¶¶ 52–53. Skywave contends that this usage is akin to commercial

trading and thus not authorized under an “experimental” license. Id. ¶ 48.

       Skywave also asserts that it wanted to get into the business of licensing its own shortwave

radio technology and capability to other HFT firms. Id. ¶¶ 32, 39, 40. It alleges that it “planned”

to acquire—but does not allege that it actually did receive (or even applied for)—a different type

of FCC license, a multi-use “Part 73” “commercial” license. Id. ¶¶ 36, 38. Even Skywave

acknowledges that this type of license did not actually exist. Id. ¶¶ 38, 120. In fact, Skywave’s

business plan never materialized: in 2017, one of Skywave’s business partners withdrew from their

venture, because it “did not believe the partnership could reasonably compete” against 10Band’s

network. Id. ¶¶ 136–39; see also Dkt. 7, Compl. ¶ 62.

       Six years after Skywave’s investor raised the issue, in September 2023, Skywave filed with

the FCC staff a “Petition for Reconsideration” of 10Band’s August 2023 license renewal. See




complaint where plaintiffs engaged in artful pleading to disguise their failure to allege they were
direct purchasers). In particular, a court may consider an original pleading in the interests of justice
and to determine the plausibility of an amended pleading. See Nance v. NBCUniversal Media,
LLC, 2018 WL 1762440, at *5 (N.D. Ill. Apr. 12, 2018) (dismissing claim because plaintiff “simply
change[d] his story”). Here, it is not plausible to assume that Skywave was unaware of any
relationship between Jump Trading, Virtu, and 10Band until within the statute of limitations period
when Skywave previously admitted that it heard rumors of their affiliation as early as 2016.
4
  Since the filing of the FAC, 10Band has applied for another license renewal on April 12, 2025.
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Declaration of Neema Sahni (“Sahni Decl.”), Ex. A (“Petition”). This Petition argues that 10Band

“uses the experimental authorization for regular day-to-day trading,” and so an experimental

license “should not have been granted.” Id. at 1. It asks the FCC staff to “reconsider and deny

10Band’s application for renewal of the Experimental License”—i.e., to revoke the license. Id. at

7. 10Band filed an Opposition to Skywave’s Petition on September 28, 2023, explaining that its

activity was consistent with the FCC’s rules, and Skywave filed a Reply on October 12, 2023.

Sahni Decl., Exs. B, C. Skywave’s Petition remains pending. Unsatisfied with petitioning the FCC,

Skywave has now tried to transform the very conduct it has complained of in the Petition into a

RICO racketeering claim.

       In the FAC, as in the original Complaint, Skywave accuses Defendants of substantive and

conspiracy violations of the RICO statute based on wire fraud predicates. Although the FAC

contains a substantial number of amendments—e.g., adding and dropping defendants, deleting

allegations that Skywave now realizes are harmful to its case, and adding more detail on Skywave’s

failed shortwave network—the substance remains the same. The FAC still alleges, at its core, that

10Band misled the FCC staff about the “experimental” nature of its shortwave licenses. FAC ¶ 1.

Likewise, Skywave’s theory of harm remains the same: this alleged fraudulent activity of lying to

the FCC, in turn, supposedly allowed Defendants’ network to compete effectively against other

HFT firms, costing other HFT traders lost profits. Id. ¶ 23 (Defendants “leverag[e] the ill-gotten

advantages of their Experimental Licenses at their competitors’ expense”); id. ¶ 53 (same); id.

¶ 193 (same); id. ¶ 194 (same); id. ¶ 103 (Defendants used licenses to gain a “speed advantage

over” Commercial Trading competitors); id. ¶ 109 (same). The FAC alleges that Defendants’ speed

and profitability advantage over competitors in turn harmed Skywave because this purported

advantage caused an investor (“Investor 1”) and a commercial trading firm (“Trader 1”) to drop



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out of a partnership. Id. ¶¶ 136–39, 152, 156. Skywave seeks two forms of relief: treble damages

and an injunction barring Defendants from using the licenses issued by the FCC. Id., Prayer for

Relief.

                                           ARGUMENT

I.        THE COURT LACKS JURISDICTION TO ADJUDICATE THE FAC.

          Skywave impermissibly asks this Court to second-guess the FCC’s grant and renewal of

licenses to Defendants. Federal district courts must dismiss such collateral attacks on agency

decisions.

          Under the Communications Act of 1934, the FCC has exclusive jurisdiction over spectrum

licensing decisions. See, e.g., In re NextWave Pers. Commc’ns, Inc., 200 F.3d 43, 54 (2d Cir. 1999).

Accordingly, the question of whether the Part 5 experimental licenses obtained by 10Band were

properly granted and renewed must be decided—and has been decided—in the first instance by

the FCC. To the extent that Skywave wanted to challenge those final determinations, its only

recourse would have been to seek review by the FCC and, in turn, seek review of that final FCC

order in the D.C. Circuit, which has exclusive jurisdiction to review FCC agency actions. 5 F.C.C.

v. ITT World Commc’ns, Inc., 466 U.S. 463, 468 (1984); 47 U.S.C. § 402(b)(6) (“Appeals may be

taken from decisions and orders of the Commission to the United States Court of Appeals for the

District of Columbia . . . [b]y any [] person who is aggrieved or whose interests are adversely

affected by any order of the Commission granting or denying any application[.]”).

          For all but one of the seven grants and renewals alleged in the FAC, the time for raising

such a challenge in the proper forum has long since passed, so those decisions are final and may

not be challenged, in this Court or anywhere else. See 47 C.F.R. § 1.115(d) (applications for review


5
  Skywave is of course aware of this proper procedure given its pending Petition for
Reconsideration.
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of staff licensing decisions must be filed with the full Commission within 30 days of staff action);

47 U.S.C. § 402(b) (challenges to an FCC final licensing decision must be filed with the D.C.

Circuit); N. Am. Catholic Educ. Programming Found., Inc. v. F.C.C., 437 F.3d 1206, 1209–10

(D.C. Cir. 2006) (requiring dismissal of challenge to FCC licensing-related decision when

complainant waited more than 30 days). As for the one license renewal for which Skywave did

timely file a Petition for Reconsideration, the FCC has not yet rendered a final decision on

Skywave’s Petition, which is all the more reason why this Court has no jurisdiction to hear a

challenge to it.

        Skywave nevertheless seeks to launch a belated collateral attack on final regulatory

decisions committed to the FCC’s and D.C. Circuit’s exclusive jurisdiction. In asking the Court to

assess whether Defendants lied to the FCC by representing that 10Band qualified for an

experimental license, Skywave necessarily asks this Court to overrule the FCC’s determination

that 10Band did so qualify. Skywave’s attempt to sidestep Congress’s carefully prescribed process

for challenging the FCC’s licensing determination by pleading to this Court that Defendants

defrauded the FCC is blatantly improper. See CE Design Ltd. v. Prism Bus. Media, Inc., 2009 WL

2496568, at *12 (N.D. Ill. Aug. 12, 2009) (claim is impermissible collateral attack where “the

complaint filed in the district court raise[s] the same issues and seek[s] the same relief in substance

as” in the FCC’s proceedings (citation omitted)), aff’d, 606 F.3d 443 (7th Cir. 2010). 6 And because

the FCC’s licensing decisions can be challenged only through the administrative process and



6
  Accord Self v. Bellsouth Mobility, Inc., 700 F.3d 453, 462 (11th Cir. 2012) (affirming dismissal
for lack of jurisdiction where “claims necessarily conflict with final orders of the FCC and thereby
depend on the district court being able to collaterally review the correctness or validity of those
orders”); Otwell v. Ala. Power Co., 747 F.3d 1275, 1282 (11th Cir. 2014) (“[N]on-parties to the
proceedings before the [agency] may not contest the agency’s final decision in an alternative forum
by bringing challenges that are inescapably intertwined with a review of the agency’s final
determination.”).
                                                  8
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reviewed only in the D.C. Circuit—steps which Skywave failed to timely take as to the earlier

license grants—Skywave’s RICO claims predicated on those earlier grants cannot now be heard

in any court.

       Even more fundamentally, in seeking treble damages for use of the licenses and to enjoin

any further use of them, Skywave is expressly asking this Court to penalize and undo a licensing

decision made by the FCC. See FAC, Prayer for Relief; Rotella v. Wood, 528 U.S. 549, 557–58

(2000) (purpose of civil RICO treble-damages remedy is to deter and penalize the prohibited

practices). But the Seventh Circuit has made clear that where, as here, “Congress places review of

an administrative decision in the court of appeals, district judges may not enjoin or penalize action

that the agency has approved or that is the natural outcome of the agency’s decision.” Ordower v.

Off. of Thrift Supervision, 999 F.2d 1183, 1188 (7th Cir. 1993) (emphasis added). In other words,

this Court has no jurisdiction to grant Skywave the remedies it seeks. Id.; see also Gaunce v.

deVincentis, 708 F.2d 1290, 1292–93 (7th Cir. 1983) (dismissing for lack of jurisdiction where

lawsuit was “in derogation of the well settled principle that collateral attacks upon administrative

orders are not permissible”). And it makes no difference that Skywave has styled its challenge

under the guise of RICO; that does not and cannot fix its jurisdictional problem. See Otwell, 747

F.3d at 1281 (“[Litigants] cannot escape [the statute’s] strict judicial review provision by arguing

that they are pursuing different claims and different relief than the parties before the [agency].”).

       Otwell v. Alabama Power Co. is instructive. There, the Federal Energy Regulatory

Commission (“FERC”) had renewed Alabama Power’s license to operate a dam project on a lake.

Id. at 1278. An association of local property owners participated in and opposed the license

proceedings, and filed a petition for rehearing with FERC. Id. FERC denied the petition, and the

property owners brought a number of tort claims against Alabama Power in federal district court,



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alleging unreasonable actions in operating the dam project. Id. at 1278–79. The Eleventh Circuit

held that the lawsuit was an impermissible collateral attack because—under a statute analogous to

that governing review of FCC orders—the court of appeals has exclusive jurisdiction to set aside

an order of FERC. Id. at 1281. It did not matter that the plaintiffs technically “assert[ed] different

claims and request[ed] different relief,” because their requested injunction involved “proposals

expressly considered and rejected by FERC in its relicensing proceedings, in the order issuing the

2010 License, and in its order denying rehearing.” Id at 1281–82. Because the plaintiffs were

“attempting to obtain the same results and to place the same constraints on Alabama Power rejected

by the agency in the exercise of its institutional expertise, and their claims [were] inescapably

intertwined with a review of the FERC’s final decision,” the district court lacked jurisdiction to

hear the claims. Id. at 1282. So too here.

        There is no better illustration of the FAC’s failings in this regard than Skywave’s currently

pending Petition for Reconsideration of the Elburn I Renewal Grant—the only licensing decision

that Skywave chose to timely challenge before the FCC (and one that issued well after Skywave’s

alleged harm occurred in 2017, see infra Section IV). There, Skywave makes the very same

arguments to the FCC that the FAC asks this Court to consider: that 10Band “uses the experimental

authorization for regular day-to-day trading,” and so its experimental license “should not have

been granted.” Pet. at 1. 7 The agency has not yet adjudicated Skywave’s Petition for

Reconsideration, which was filed with the FCC’s Office of Engineering & Technology. If that

Office issues a decision on the Petition adverse to Skywave, Skywave would need to file an


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  These claims are based on a false dichotomy between “experimental” and commercial activities.
The FCC’s rules permit experimental licensees to perform “[p]roduct development and market
trials,” 47 C.F.R. § 5.3(k), the latter of which the agency defines as “[a] program designed to
evaluate product performance and customer acceptability,” id. § 5.5, and the Commission found
10Band’s activity consistent with the rules.

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application for review of that decision to the full Commission before Skywave would be permitted

to appeal that decision to the D.C. Circuit. 47 U.S.C. § 155(c)(7) (“The filing of an application for

review under this subsection shall be a condition precedent to judicial review of any order,

decision, report, or action made or taken pursuant to a delegation under paragraph (1) of this

subsection.”); Coal. for Pres. of Hisp. Broad. v. F.C.C., 931 F.2d 73, 76–77 (D.C. Cir. 1991) (“In

general, failure to exhaust administrative remedies bars judicial review of FCC orders.”).

       In other words, to the extent Skywave’s RICO claims are based on this license renewal

(and could somehow survive the many other defects set forth herein), this Court cannot hear those

claims either. Skywave’s challenge belongs with the FCC unless and until Skywave’s

administrative remedies have been exhausted, and then with the D.C. Circuit, pursuant to the

exclusive administrative scheme and review process that Congress has carefully delineated. See

Telecommunications Rsch. & Action Ctr. v. F.C.C., 750 F.2d 70, 75 (D.C. Cir. 1984) (“[W]e hold

that where a statute commits review of agency action to the Court of Appeals, any suit seeking

relief that might affect the Circuit Court’s future jurisdiction is subject to the exclusive review of

the Court of Appeals.” (first emphasis added)); Daniels v. Union Pac. R.R. Co., 530 F.3d 936, 942

(D.C. Cir. 2008) (“the district court lacks subject matter jurisdiction over [plaintiffs’ claims]

because those claims, once final, are subject to this Court’s exclusive jurisdiction” (emphasis in

original)); North v. Smarsh, Inc., 160 F. Supp. 3d 63, 84 (D.D.C. 2015) (dismissing claim for lack

of jurisdiction where “Plaintiffs are barred from launching such collateral attacks because they

‘almost certainly implicate[ ] issues that would be addressed by the Court of Appeals upon final

review of [the agency’s] ruling’” (citation omitted)). In any case, even if everything went

Skywave’s way with its singular FCC Petition and an eventual appeal to the D.C. Circuit, Skywave

still would be unable bring the RICO claims pleaded in FAC for the reasons set forth below.



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II.    SKYWAVE HAS NOT ALLEGED AN INJURY “BY REASON OF” A VIOLATION
       OF SECTION 1962.

       A.      Only the Victim Directly Injured by Racketeering Activity Can Sue Under
               RICO.

       Only a “person injured in his business or property by reason of a violation of section 1962

. . . may sue.” 18 U.S.C. § 1964(c). Section 1964 requires “a showing that the defendant’s violation

not only was a ‘but for’ cause of his injury, but was the proximate cause as well.” Holmes v. Secs.

Inv’r Prot. Corp., 503 U.S. 258, 268 (1992). When determining proximate causation, “the central

question [to] ask is whether the alleged violation led directly to the plaintiff’s injuries.” Anza v.

Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006) (emphasis added). Only “the victim directly

injured” by the racketeering conduct, not an “indirectly injured victim,” can sue. Holmes, 503 U.S.

at 274. “A link that is ‘too remote,’ ‘purely contingent,’ or ‘indirec[t]’ is insufficient.” Hemi Grp.,

LLC v. City of New York, 559 U.S. 1, 9 (2010) (quoting Holmes, 503 U.S. at 271, 274). Where a

plaintiff’s “theory of causation requires [a court] to move well beyond the first step, that theory

cannot meet RICO’s direct relationship requirement.” Id. at 10.

       Three important considerations underlie the direct-relationship requirement. First is “the

difficulty that can arise when a court attempts to ascertain the damages caused by some remote

action.” Anza, 547 U.S. at 458. “[T]he less direct an injury is, the more difficult it becomes to

ascertain the amount of a plaintiff’s damages attributable to the violation, as distinct from other,

independent, factors.” Holmes, 503 U.S. at 269. Second, “recognizing claims of the indirectly

injured would force courts to adopt complicated rules apportioning damages among plaintiffs

removed at different levels of injury.” Id. Third, “directly injured victims can generally be counted

on to vindicate the law” without the difficulties caused by allowing suits “by plaintiffs injured

more remotely.” Id. at 269–70.



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       The direct-relationship requirement is applied rigorously to dismiss RICO complaints

where the plaintiff is not the party that suffers the direct harm. The leading case is Holmes, 503

U.S. 258. There, the defendant lied to manipulate the price of certain stocks, brokers bought those

stocks with their own money at inflated prices, the market learned of the deception, and the ensuing

price collapse forced the brokers into liquidation. Id. at 262–63. SIPC (which oversees the

liquidation of bankrupt securities brokers) asserted RICO claims for losses to customers who did

not purchase the manipulated stocks, but whose losses resulted from the liquidation of the brokers

who had. Id. The Supreme Court held that because the direct victims of the fraud were the brokers,

their customers were only indirect victims. Id. at 270–74. As the Court explained, “the link [was]

too remote between the stock manipulation alleged and the customers’ harm, being purely

contingent on the harm suffered by the broker-dealers.” Id. at 271.

       The Supreme Court applied the same direct-relationship analysis to deny the plaintiff a

cause of action in Anza, 547 U.S. 451. There, the defendant steel products company cheated the

State of New York by not charging its customers sales taxes. Id. at 453–54. A rival company

brought a RICO suit alleging that the defendant’s failure to charge sales taxes to customers and

filing of false tax returns allowed the defendant to charge lower prices to customers, causing losses

to the plaintiff. Id. at 454, 457–58. The Court, relying on Holmes, found that the direct victim of

the fraud was the State of New York and that the competitor was only an indirect victim and

therefore could not state a claim. Id. at 458.

       The directness requirement of Section 1964(c) is “demanding,” Grow Mich., LLC v. LT

Lender, LLC, 50 F.4th 587, 594 (6th Cir. 2022), and the cases applying it to reject a downstream

plaintiff’s RICO claims are legion. See, e.g., Sterling Suffolk Racecourse, LLC v. Wynn Resorts,

Ltd., 990 F.3d 31, 36 (1st Cir. 2021) (plaintiff failed to establish standing because its injury was



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“entirely derivative” of its potential business partner’s injury); Mid-State Fertilizer Co. v. Exch.

Nat’l Bank of Chi., 877 F.2d 1333, 1335 (7th Cir. 1989) (company’s owners could not establish

proximate causation to sue bank under RICO because their injury was derivative of injury to the

company); Walters v. McMahen, 684 F.3d 435, 444 (4th Cir. 2012) (although false attestations that

undocumented employees were eligible to work “are one step in the chain of events that ultimately

may have resulted in the employment of unauthorized aliens,” depressed wages for authorized

workers was not a “direct” result); Serv. Emps. Int’l Union Health & Welfare Fund v. Philip Morris

Inc., 249 F.3d 1068, 1071, 1074 (D.C. Cir. 2001) (dismissing RICO claims against tobacco

companies brought by health trust funds because “the alleged harm arising from payment of

medical expenses by the funds and the nations is itself derivative of alleged injuries to individual

smokers”); Slay’s Restoration, LLC v. Wright Nat’l Flood Ins. Co., 884 F.3d 489, 494–95 (4th Cir.

2018) (subcontractor did not have standing to bring RICO claim against building owner’s

insurance company because subcontractor’s alleged injury was derivative of harm to building

owner); Grow Mich., 50 F.4th at 595–96 (6th Cir. 2022) (dismissing RICO claim where plaintiff’s

injury was only derivative of harm to its debtor); In re Honey Transshipping Litig., 87 F. Supp. 3d

855, 863–65 (N.D. Ill. 2015) (commercial bee-keepers did not suffer direct injury under RICO

from scheme by importers and suppliers to defraud the government of customs duties by

misbranding Chinese honey).

       B.      Skywave’s Claimed Injury.

       Skywave claims that Jump Trading and Virtu committed a pattern of wire fraud by lying to

the FCC to obtain experimental shortwave transmission licenses. FAC ¶¶ 1, 64–85, 103–05. Armed

with those licenses, Skywave says, Jump Trading and Virtu gained a “dominant speed advantage,”

id. ¶ 4, and used it “to illegally dominate certain trades across global trading markets,” id. ¶ 53.

According to Skywave, this trading allegedly permitted Jump Trading and Virtu to “reap ill-gotten
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financial benefits by dominating Commercial Trading markets . . . [where they] win[] trades,

resulting in profitable trading.” Id. ¶ 103.

        But Skywave is not even in those trading markets; rather, it is at most a would-be licensor

to high-frequency trading firms. Skywave says that the speed advantage and concomitant trading

profit, according to the FAC, “derailed” Skywave’s own efforts to commercialize a shortwave

trading technology and platform it could license to other trading firms. Id. ¶¶ 3–4. As a result,

Skywave claims it was “forced to halt its efforts to commercialize its technology.” Id. ¶ 4; see also

id. ¶¶ 152–56.

        This is not a direct injury cognizable under RICO. In an effort to establish some linkage

between the licenses obtained by Jump Trading and Virtu and Skywave’s “derailed” efforts,

Skywave points to the effect Defendants’ speed-powered advantage supposedly had on other

parties. It alleges that Investor 1 asked to drop out of Skywave’s proposed project in 2017 because

it did not believe that Skywave could compete with Jump Trading and Virtu’s shortwave

technology. Id. ¶¶ 136–37; see also Dkt. 7, Compl. ¶ 62. Skywave agreed to allow Investor 1 to

drop out. FAC ¶ 137. Skywave also had an agreement with an HFT firm, Trader 1.




                              Id. ¶ 40. In 2020, Trader 1, apparently also discouraged, asked to be

let out of the agreement, and Skywave agreed. Id. ¶ 139. Skywave alleges that other potential trader

clients were forced out of business by Defendants’ speed advantage. Id. ¶ 156. Skywave claims as

damages, among other things, a share of the profits it speculates traders would have paid to

Skywave in payment for licensing its technology and network platform if all this had not happened.

Id. ¶¶ 152, 155–56, Prayer for Relief.



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       C.      Skywave Was Not a Direct Victim Under Holmes and Its Progeny.

               1.      On the allegations of the FAC, the direct victims of the alleged racketeering
                       were other trading firms, not Skywave.

       Under Skywave’s theory, the direct financial victims of Defendants’ alleged scheme, if any,

are Jump Trading’s and Virtu’s competitors in the business of trading financial instruments, not

Skywave. As Skywave alleged in eight distinct places in its original Complaint, Defendants

allegedly schemed:

       to defraud the FCC to obtain shortwave Experimental Licenses for Commercial
       Trading, unlawfully use those Experimental Licenses for Commercial Trading, and
       leverage the ill-gotten advantages of Experimental Licenses to unfairly maximize
       the financial benefit that Defendants derive from trading financial instruments at
       their competitors’ expense.

Dkt. 7 ¶ 4 (emphasis added); id. ¶¶ 73, 82, 173, 176, 198, 203, 207–08. Accordingly, Defendants

moved to dismiss that Complaint for, among other things, failure to allege proximate causation.

See Dkt. 74 at 6–17.

       Recognizing that it previously pled itself out of court with these eight express allegations

that the alleged harm befell Jump Trading’s and Virtu’s “competitors” in high-frequency trading,

Skywave deletes them, now claiming that the harm befell what it obscurely calls “market

participants, including Skywave.” FAC ¶ 1. This purge-cum-sleight-of-hand is unavailing for two

reasons. Initially, it is barred by the artful-pleading doctrine. See supra note 3. In addition, the

purge was incomplete, and the FAC still makes unmistakably clear that any direct injury fell on

competitive traders, not on Skywave. Skywave repeatedly alleges, for example, that the key thing

Defendants did wrong was to leverage the supposedly ill-gotten experimental licenses “at their

competitors’ expense.” Id. ¶ 23; id. ¶ 52 (same); id. ¶ 193 (same); id. ¶ 194 (same). Defendants

allegedly used the licenses to “gain a speed advantage over Commercial Trading competitors.” Id.

¶ 109 (emphasis added). Investor 1 pulled out of its deal with Skywave because of alleged concerns


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about Defendants’ speed “advantage over other traders.” Id. ¶ 136 (emphasis added). And some

traders who allegedly might have otherwise licensed Skywave’s patents and technology were

“forced out of business” by Defendants’ dominant speed advantage. Id. ¶ 156; see also id. ¶ 103

(Defendants reaped illegal profits by “dominating Commercial Trading markets”); id. ¶¶ 112, 117,

120 (Defendants schemed to “defraud . . . the Commercial Trading market”); id. ¶ 53 (Defendants

use shortwave to “dominate certain trades across global trading markets”); id. ¶ 179 (Defendants

“scheme[d] to defraud . . . the Commercial Trading market”).

       Skywave still does not (and cannot) allege that it has ever been or was going to be a high-

frequency (or, for that matter, any other type of) trader. In fact, the FAC shows—just as the original

Complaint did—that it was not. Instead, Skywave merely proposed to provide a

telecommunications network service to such traders.

                                                                                             Id. ¶ 41

(emphasis added).

Id. ¶ 40. But for Defendants’ conduct, Trader 1 would have conducted “latency arbitrage trading”

via Skywave’s network and (Skywave speculates) would have made successful trades. Id. ¶ 155.

The same is true of other potential trader clients of Skywave: the injury to these other traders has

resulted in Skywave being “unable to license its shortwave network technology, know-how, and

patents.” Id. ¶ 156.

       This case thus falls squarely within the teachings of Holmes, Anza, and their progeny. Just

like the investors seeking to recover funds lost in the collapse of their broker in Holmes or the

competitor in Anza whose prices were undercut by the defendant’s not paying or passing on sales

taxes to customers, the financial harm (if any) to Skywave is purely derivative of the alleged harm

to some other party.



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       Sterling Suffolk Racecourse, 990 F.3d 31, is right on point. There, plaintiff Sterling was the

proposed landlord for a casino that an applicant for a gaming license hoped to build. Id. at 34.

Sterling brought a RICO claim against the winning bidder for the license, Wynn Resorts, claiming

that Wynn lied to the Massachusetts Gaming Commission on its application, the alleged fraud cost

Wynn’s rival to lose out on the gaming license, and that, in turn, cost Sterling its opportunity to

lease its land to the rival. Id. at 34–35. There, as here, the alleged misrepresentation was directed

at a government agency in order to obtain a governmental license. There, like Trader 1 and other

trading firms here, a potential business partner of the plaintiff was allegedly injured as a result of

the issuance of the license. And there, as here, the downstream plaintiff who allegedly stood to be

paid by the directly injured victim sought to recover under RICO. The First Circuit, applying

Holmes and Anza, affirmed dismissal of the complaint, rejecting the argument that “persons who

do business with an entity harmed by a RICO conspiracy may recover against the conspirators.”

Id. at 37. That perfectly describes Skywave’s claim here.

               2.      The causal chain is broken because it depends on a series of independent
                       and intervening factors, as well as baseless speculation.

       That a claimed injury is indirect, like Skywave’s, is itself sufficient to defeat the proximate-

cause requirement of Section 1964(c). But the causal chain Skywave posits between Defendants’

supposed misrepresentations to the FCC and its purported injury is not merely attenuated. It is

actually broken by a long series of independent, intervening acts by third parties, including rank

speculation as to what might have happened if a chain of multiple events that never happened had

happened. That independently forecloses meeting Section 1964(c)’s directness requirement

because “a ‘theory of liability [that] rests not just on separate actions, but separate actions carried

out by separate parties’ is insufficiently direct.” See Gov’t App Sols., Inc. v. City of New Haven,




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2024 WL 1299993, at *2 (9th Cir. Mar. 27, 2024) (quoting Hemi Grp., 559 U.S. at 11 (finding no

direct injury)).

        In the first place, the supposed misrepresentations were made to the FCC, and the FCC

then made a series of decisions to grant the experimental shortwave licenses to 10Band. FAC

¶¶ 66–85. Even if those FCC decisions were, as Skywave alleges, based on false statements, they

are intervening acts that break the causal chain. See Eli Lilly & Co. v. Roussel Corp., 23 F. Supp.

2d 460, 485 (D.N.J. 1998). Eli Lilly is instructive. There, Lilly brought a RICO claim against a

competitor, contending that the competitor’s lies to the FDA to obtain approval for bulk sales of a

drug reduced Lilly’s own sales. The court held that Lilly had failed to allege proximate causation

because its “injury result[ed] from many intervening acts and causes,” including the FDA’s

approval. Id.

        Many other courts have reached the same conclusion where an injury involves an

intervening decision by a regulator who was allegedly misled. For example, in Devon Drive

Lionville, LP v. Parke Bancorp, Inc, 791 F. App’x 301, 306 (3d Cir. 2019), the plaintiffs claimed

they were RICO victims based on the contention that the FDIC relied on the defendant bank’s

fraud, and that reliance caused their injuries. The court rejected the plaintiffs’ proximate-causation

theory because the regulators were “intervening actors who [broke] the chain of causation.” Id. at

307. “Where a government body is an intervening actor between an alleged RICO violation and

the alleged harm, courts . . . uniformly dismiss the claims for lack of proximate cause[.]” Longmont

United Hosp. v. Saint Barnabas Corp., 2007 WL 1850881, at *4 (D.N.J. June 26, 2007) (rejecting

RICO theory that hospital chain fraudulently overbilling CMS for Medicare reduced

reimbursements to plaintiff), aff’d, 305 F. App’x 892, 894 (3d Cir. 2009) (“[T]he Centers for

Medicare & Medicaid Services (‘CMS’) stands between SBC’s conduct and Longmont’s



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injuries.”); see also Barr Lab’ys, Inc. v. Quantum Pharmics, Inc., 827 F. Supp. 111, 115–16

(E.D.N.Y. 1993) (rejecting RICO claim based on theory that defendant “fraudulently obtained

approval to market a competing product” in part because plaintiff’s “losses depend on the

intervening actions of the FDA”); Lifschultz Fast Freight, Inc. v. Consol. Freightways Corp. of

Del., 805 F. Supp. 1277, 1291 (D.S.C. 1992) (rejecting RICO claim in part because “[a]ny harm

from the alleged conspiracy would be purely contingent on how the rate bureaus and the [Interstate

Commerce Commission] acted based on the alleged predicate acts”), aff’d, 998 F.2d 1009 (4th Cir.

1993).

         Besides the FCC’s intervening decisions, the FAC also explicitly alleges another set of

independent intervening actors: its prospective business partners and ultimately Skywave itself.

Specifically, it alleges that as a result of Jump Trading’s and Virtu’s supposedly unlawfully

obtained speed advantage in trading, first Investor 1 and then Trader 1 decided they wanted to get

out of the partnerships they had with Skywave. Skywave agreed that they could do so. FAC

¶¶ 136–37, 139.

         Independent decisions like these by other commercial actors, including Skywave itself,

vitiate any claim of proximate causation under Section 1964(c). “[L]awful actions, like . . .

choosing not to do business with a company, can serve as [an] independent factor[] rendering the

purported injury too indirect from the predicate RICO acts.” Gov’t App Sols., 2024 WL 1299993,

at *2. In Government App Solutions, the plaintiff claimed it was the victim of racketeering because,

after one of its contractors became involved in a bribery scheme with the mayor of Sacramento,

other municipalities refused to do business with it. The court, applying the three Holmes factors,

determined that that plaintiff had no standing to sue under the direct-relation test. Id.; see also Eli

Lilly, 23 F. Supp. 2d at 485 (emphasizing the contingent nature of decisions by manufacturers,



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distributors, pharmacies, and consumers as intervening between the fraudulent statements and the

alleged injury to plaintiff); Lifschultz Fast Freight, 805 F. Supp. at 1291 (harm to plaintiff was

contingent on “the customers’ taking action based on the ICC action”); Barr Laboratories, 827 F.

Supp. at 115–16 (plaintiff’s losses depended in part on defendants’ customers’ actions).

        Beyond these intervening decisions, Skywave’s lost-profits claim depends on a number of

other speculative and contingent events, including that: (1) Skywave would actually have

submitted an FCC license application; (2) the FCC would have granted it a Part 73 license for

trading (even though such a license does not exist, see infra Section II(C)(4), and Skywave itself

acknowledges as much, see FAC ¶ 120); (3) Skywave would have built out its network by

purchasing transmitters and antennas, closing on land acquisitions for U.S. transmitter locations,

and “develop[ing]” receiver locations in the U.K. and Germany, each of which is dependent on

third parties’ actions (id. ¶ 154); (4) Skywave’s technology would have been effective and better

than any competing technology; (5) traders would have wanted to do business with Skywave (a

dubious proposition given the history of one of its founders 8); and (6) traders who licensed its

technology would have traded successfully and made profits.

               3.      The principles underlying the Supreme Court’s Section 1964(c)
                       jurisprudence highlight why Skywave is not a proper RICO plaintiff.

        Each of the reasons articulated by the Supreme Court in Holmes and Anza for permitting

only the direct victim to sue applies here. Specifically, there is no way to disentangle the effects of

the alleged misconduct from other independent acts and decisions that led to Skywave’s alleged

damages. See Holmes, 503 U.S. at 269; Sidney Hillman Health Ctr. of Rochester v. Abbott Lab’ys,


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  One of the co-founders of the company is Kevin Babich. FAC ¶ 31. Babich—when running a
former company—skimmed $680,000 in payments from a client to pay personal bills and other
expenses (and, as a result, pled guilty to federal mail and wire fraud). See United States v. Babich,
Plea Agreement, 2:14-cr-56-RLM, Dkt. No. 2 (N.D. Ind. 2015). Babich was still on probation at
the time Skywave was allegedly ready to commercialize its business.
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873 F.3d 574, 577 (7th Cir. 2017). Moreover, because any harm Skywave alleges fell first on Jump

Trading’s and Virtu’s HFT competitors, the Court would have to create complicated apportionment

of damages rules—first apportioning them among those competitors and only then to Skywave if

Skywave could show that one of more of those competitors would have contracted with Skywave.

See Holmes, 503 U.S. at 269. And even if Skywave were right about the purported scheme it alleges

and any resulting harm to HFT competitors—to be clear, it is not—then there are more directly

injured parties who could vindicate the law. Id. at 269–70.

               4.      Skywave has not even alleged but-for causation.

       There is also a second, independent reason why this claim fails the test of Section 1964(c):

Skywave has not even adequately alleged but-for causation. “The typical question asked in

determining cause-in-fact is counterfactual: would the claimed injury still have happened if the

defendant had not engaged in the tortious conduct alleged?” RWB Servs., LLC v. Hartford Comput.

Grp., Inc., 539 F.3d 681, 686 (7th Cir. 2008); see also Bobb v. Swartz-Retson P.C., 2018 WL

4384292, at *8 (N.D. Ill. Sept. 14, 2018) (finding no but-for causation); All-Tone Commc’ns, Inc.

v. Am. Info. Tech., 1991 WL 166532, at *4 (N.D. Ill. Aug. 26, 1991) (same).

       Here, to establish but-for causation, Skywave would have to plausibly allege that it could

and would have entered the market for providing shortwave services to trading firms with a Part

73 license, which it refers to as a “commercial license.” On its theory, getting the Part 73 license

was the sine qua non of selling shortwave services to such firms. However, Skywave does not

allege that it ever even applied for a Part 73 license, only that it planned to do so. FAC ¶¶ 3, 36.

Nor does it allege that the FCC rules provide for issuance of such a license for the purpose that

Skywave has posited: to privately transmit market or trading data between an HFT firm in the U.S.

and its servers at European exchanges using transoceanic shortwave communications. Id. ¶¶ 31–

36.
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       It is little wonder that Skywave omits these allegations: there is no such license under Part

73. Part 73 pertains to “Radio Broadcast Services.” See 47 C.F.R. § 73 (“Radio Broadcast

Services”). The term “broadcasting” for purposes of the Federal Communications Act “means the

dissemination of radio communications intended to be received by the public, directly or by the

intermediary of relay stations.” 47 U.S.C. § 153(7) (emphasis added); 47 C.F.R. § 73.701(a)

(“directly by the general public” (emphasis added)). But Skywave’s proposed transmissions, by

design and definition, are not to the general public, but rather private and point-to-point, so a

particular trader with uniquely fast access to data can make a split-second profit. See FAC ¶¶ 29–

30.

       The FAC in fact admits that there is no license under Part 73 for private data transmission

for purposes of trading financial instruments (as opposed to broadcasting programs to the general

public). Id. ¶ 120. Instead, it says Skywave wanted to sidestep the rules and “design a multi-use

Part 73 license” under which it would split transmission of private commercial trading data and

public high-class “musical performances.” Id. ¶ 38 (emphasis added). It spoke to FCC staff about

the idea almost a decade ago and claims that the staff “encouraged” Skywave to apply. Id.

However, tellingly, Skywave never alleges that it actually applied for such a license, let alone

received one, nor that the Commission has ever granted such a license to anyone.

       Skywave also omits to mention that, whatever the opinion of FCC staff may have been

years ago, the Commission itself has recently rejected the same multi-use proposal from other

parties. See In the Matter of DPA Mac LLC, IHF-C/P-20201228-00010 (FCC DA 25-70A Jan. 17,

2025) (rejecting proposal to pair shortwave transmission of “investment data” that requires

“purpose-built equipment to transmit, receive, encode, and decode the supplemental datacast for

the benefit of fee-for-service customers” with free over-the-air broadcast of financial news); In the



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Matter of Parable Broad. Co., LLC, IHF-C/P-20200427-00001 (FCC DA 25-71 Jan. 17, 2025)

(rejecting attempt to pair private encrypted datacast with public broadcasting of religious

programs); In the Matter of Turms Tech LLC, IHF-C/P- 20200710-00002 (FCC DA 25-67 Jan. 17,

2025) (“[T]he station must provide only the international broadcasting service, as defined in 47

CFR § 73.701, ensuring the broadcast is not encoded or encrypted.”). These orders of the

Commission, holding that private data transmissions like that which Skywave considered are not

“broadcasting” under Part 73, are properly the subject of judicial notice. See Ray v. City of Chicago,

629 F.3d 660, 665 (7th Cir. 2011) (“[D]istrict courts may take judicial notice of certain

documents—including records of administrative actions—when deciding motions to dismiss.”).

They demonstrate that even if Jump Trading and Virtu had not obtained experimental licenses—

indeed, even if neither company ever existed—Skywave could not have obtained the license it

claims to have wanted and that it claims would have allowed it to build and provide its shortwave

network to prospective investors and clients. Therefore, any action by Defendants could not have

been the but-for cause of Skywave’s supposed injury.

III.   SKYWAVE DOES NOT PROPERLY ALLEGE WIRE FRAUD.

       The pattern of racketeering activity alleged here consists entirely of a supposed set of wire

frauds in violation of 18 U.S.C. § 1343. But the FAC does not properly allege even a single wire

fraud by any Defendant, let alone a pattern of wire fraud pleaded with the required particularity

against each Defendant.

       A.      As a Matter of Law, the Alleged Misrepresentations to the FCC to Obtain
               Licenses Do Not Constitute Wire Fraud.

       The heart of Skywave’s case is that Defendants sent misrepresentations to the FCC through

interstate wire communications in order to defraud the FCC into issuing Part 5 experimental

licenses to them. FAC ¶¶ 104–15. The Supreme Court has established, however, that “the federal


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fraud statutes criminalize only schemes to deprive people of traditional property interests,”

Ciminelli v. United States, 598 U.S. 306, 309 (2023), and a license is not property in the hands of

the licensing authority, Cleveland v. United States, 531 U.S. 12, 26–27 (2000). Cleveland

forecloses Skywave’s wire-fraud theory.

       In Cleveland, the defendant was charged with mail fraud for lying about the ownership of

his video poker business to obtain a state license required to operate video poker machines. Id. at

16–17. The Court determined that the State’s core concern in requiring such licenses was

“regulatory”—to prevent gaming activities from being infiltrated by criminal elements. Id. at 20–

21. While the State also received application fees and made money on taxing video poker

machines, the Court held that a government regulator does not part with “property” when it issues

a license because “a license is not ‘property’ in the government regulator’s hands.” Id. at 20; see

also Kelly v. United States, 590 U.S. 391, 400 (2020) (reversing a wire fraud conviction for a

scheme to restrict the traffic flow over a toll bridge because the object of the scheme was not to

obtain money or property from the victim but to affect regulatory interests); United States v.

Griffin, 76 F.4th 724, 738 (7th Cir. 2023) (a “scheme to alter a regulatory decision, such as a

scheme to obtain a state or municipal license from a government regulator” does not suffice as a

scheme to deprive the government of property as required for wire fraud).

       The same rule applies where, as here, the regulatory authority issuing the license is an

agency of the United States. See United States v. Schwartz, 924 F.2d 410, 418 (2d Cir. 1991)

(“[T]he government’s interest in the unissued export licenses is ancillary to its power to regulate,

and is not a property interest within the meaning of the wire fraud statute.”); Williams v. Dow

Chem. Co., 255 F. Supp. 2d 219, 225–26 (S.D.N.Y. 2003) (alleged lie by chemical company to




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obtain EPA regulatory approval did not constitute mail or wire fraud because it was not directed at

money or property).

       There can be no doubt that the FCC’s interest in issuing radio spectrum licenses here is

regulatory, not one based in property. The FCC was created “[f]or the purpose of regulating

interstate and foreign commerce in communication by wire and radio . . . .” 47 U.S.C. § 151. The

agency is charged with granting licenses in the “public interest, convenience, or necessity,” and

that licensing authority is necessitated by “the limited number of frequencies on the

electromagnetic spectrum.” See Metro Broad., Inc. v. F.C.C., 497 U.S. 547, 597 (1990), overruled

on other grounds by Adarand Constructors, Inc. v. Pena, 515 U.S. 200 (1995). Because the FCC

is exercising sovereign powers in issuing radio spectrum licenses, the Part 5 licenses at issue here

are not property in the FCC’s hands, and there can be no wire fraud predicated on obtaining such

a license. Without wire fraud predicates, there can be no RICO claim.

       B.      Skywave’s Backup Theory Fares No Better.

       Skywave also alludes to a second type of supposed wire fraud, namely, that the alleged

false statements to the FCC to obtain the experimental licenses somehow turn each commercial

trade into a fraud against the commercial trading market, that is, competitive HFT firms. FAC

¶¶ 116–25. This effort to recast its fraud on the FCC theory in another guise is equally doomed.

       First, it fails the particularity requirement of Federal Rule of Civil Procedure 9(b). Where,

as here, the alleged predicate acts of racketeering involve fraud, the plaintiff must plead with

specificity the “who, what, when, where, and how” of the alleged fraudulent activity. Muskegan

Hotels, LLC v. Patel, 986 F.3d 692, 698 (7th Cir. 2021) (citation omitted); Slaney v. Int’l Amateur

Athletic Fed’n, 244 F.3d 580, 597 (7th Cir. 2001); Goren v. New Vision Int’l, Inc., 156 F.3d 721,

729 (7th Cir. 1998). Skywave has failed to even plead the basic elements of wire fraud, which

require that the defendant make “a material false statement, misrepresentation, or promise, or
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conceal[] a material fact”; have a specific intent to defraud; and have used the wires in furtherance

of a scheme to defraud. United States v. Weimert, 819 F.3d 351, 355 (7th Cir. 2016). Most

fundamentally, Skywave never explains what the nature of the fraud against competitors was, what

any alleged false statement in connection with any trade was, or how Defendants transmitting

trading-related information by shortwave amounts to a fraud on its counterparties to trades. There

is no allegation that Defendants bought or sold instruments at other than market prices. There is

no allegation of market manipulation or spoofing or any other recognized form of securities or

commodities fraud. There is no allegation that the counterparties to trades with Jump Trading or

Virtu have any expectation about what technologies Defendants use to transmit market

information, or even that they know who they are trading against. There is no allegation that Jump

Trading or Virtu made any fraudulent representation—or any representation at all—to

counterparties about how their market information is being transmitted. And there is not a single

particularized allegation of a fraudulent trade—and certainly no allegation of who, what, when, or

how any was allegedly made.

        Second, this theory of “fraudulent trading” highlights that, at its heart, the FAC is trying to

transmute an alleged fraud on other parties—the FCC and competitive HFT trading firms—into a

fraud against Skywave. There is no authority supporting this theory, and it underlines that Skywave

itself has not suffered an injury proximately caused by the alleged pattern of wire fraud as required

by Section 1964(c). See supra Section II.

        Third, the FAC says that the purpose of the HFT enterprise was “to trade financial

instruments,” which it defines as “Commercial Trading.” FAC ¶ 1. 9 Financial instruments include




9
 The FAC goes on to use the term “Commercial Trading”—that is, trading financial instruments—
another 114 times.
                                                  27
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“stocks.” Id. ¶ 25. But the trading of securities is not actionable under Section 1964(c), which

specifically exempts “any conduct that would have been actionable as fraud in the purchase or sale

of securities to establish a violation of section 1962.” 18 U.S.C. § 1964(c). The bar extends not

only to explicit securities fraud claims but also those that “plead other specified offenses, such as

mail or wire fraud, as predicate acts under civil RICO if such offenses are based on conduct that

would have been actionable as securities fraud.” Hollinger Int’l, Inc. v. Hollinger Inc., 2004 WL

2278545, at *5 (N.D. Ill. Oct. 8, 2004) (emphasis in original) (quoting H.R. Rep. No. 104-369, at

47 (1995) (Conf. Rep.)); see also McKinney v. Panico, 2022 WL 4551695, at *8–9 (N.D. Ill. Sept.

29, 2022). In other words, if Skywave’s secondary fraud theory is based on some allegedly

fraudulent trading of financial instruments including securities, such a claim is not cognizable

under the civil RICO statute.

IV.    SKYWAVE’S CLAIMS ARE TIME-BARRED.

       Even if Skywave could have stated a plausible RICO claim, the time has long since passed

for it to bring such a claim, providing yet another reason to dismiss the FAC with prejudice.

       Civil RICO claims have a four-year statute of limitations. Agency Holding Corp. v. Malley-

Duff & Assocs., Inc., 483 U.S. 143, 156 (1987). The four-year period begins to run when a plaintiff

knows “or should have known of [its] injury.” Rotella, 528 U.S. at 553–54. “A plaintiff does not

need to know that his injury is actionable to trigger the statute of limitations—the focus is on the

discovery of the harm itself, not the discovery of the elements that make up a claim.” Cancer

Found., Inc. v. Cerberus Cap. Mgmt., LP, 559 F.3d 671, 674 (7th Cir. 2009). Thus, if Skywave

knew or reasonably should have known of its alleged injuries before October 2020 (four years

before the Complaint was filed), its claims are time-barred.

       Skywave’s own allegations make clear that it knew of its injuries by March 2017. Skywave

alleges harm from the “termination of Skywave’s [valuable] partnership with [Investor 1 and
                                                 28
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Trader 1] and the associated resulting costs and losses.” Dkt. 7, Compl. ¶ 190; see also FAC ¶¶ 152

(“Due to Defendants’ unlawful conduct, Skywave has been unable to secure business partners . . . .

Defendants’ misconduct is the direct and proximate cause of Skywave’s economic injuries,

including sunk costs[.]”); id. ¶ 153 (describing termination of partnerships with Investor 1 and

Trader 1 as a “sunk cost”); id. ¶ 155 (further alleging harms from termination of partnerships with

Investor 1 and Trader 1). And Skywave alleges that it knew—in 2017—that this termination and

associated sunk costs and losses purportedly resulted from the 10Band experimental licenses it

complains about.

       Specifically, Skywave alleges that “[i]n 2017, [Investor 1] became concerned that if a

person or entity were to use 10Band’s shortwave transmitter under an Experimental License for

Commercial Trading, that person or entity would have a dominant latency (i.e., speed) advantage

over other traders . . . operat[ing] under Commercial License conditions.” FAC ¶ 136 (emphasis

added). Because “[Investor 1] did not believe the partnership could reasonably compete against

persons or entities misusing the advantages of Experimental Licenses for Commercial Trading, [it]

. . . sought to exit the partnership with Skywave and [Trader 1].” Id. ¶ 137; see also Dkt. 7, Compl.

¶ 62 (Investor 1 did not believe partnership could “reasonably compete against any unlawfully

used 10Band Experimental License for Commercial Trading”). In March 2017, in light of Investor

1’s concerns about the use of 10Band’s license, “Skywave . . . agreed to release [Investor 1] from

the partnership.” FAC ¶ 137. In other words, taking its allegations as true, Skywave knew of the

injuries about which it now complains by March 2017, and it knew the alleged (albeit remote)

cause of those injuries was the licenses granted to 10Band.

       Skywave has also made allegations and submitted materials showing that it knew or could

easily have discovered before October 2020 that all Defendants were affiliated with those 10Band



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experimental licenses that allegedly caused it harm. For example, Skywave (1) previously pleaded

that, around December 2016, it had “heard rumors in the industry that Jump or Virtu (both trading

firms) may be affiliated with 10Band,” Dkt. 7, Compl. ¶ 60; (2) pleads that Defendant Hinerfeld

was the signatory on 10Band’s license applications in January, March, and May 2020—which were

publicly available at the time, e.g., FAC ¶¶ 69, 70–71, 73, 75, 77, 79, 81, 83; (3) included in the

FAC as an exhibit an ownership chart publicly filed with the FCC in May 2020 that names

Defendants DiSomma and Gurinas as indirect owners of 10Band, see id. ¶ 86 & n.5; compare

FAC, Ex. 2, with Sahni Decl., Ex. D 10; and (4) pleads that “Madigan was registered as a broker

with Virtu Americas, LLC, a subsidiary of Virtu, from 2014 to 2017,” citing the publicly available

“BrokerCheck” database run by the Financial Industry Regulatory Authority, FAC ¶ 98, Ex. 52.

Although Skywave’s FAC omits to mention what Skywave alleged in its original complaint—that

Skywave had heard rumors, as of December 2016, of a Jump Trading-Virtu-10Band affiliation (see

Dkt. 7, Compl. ¶ 60)—the Court can consider that allegation, see supra note 3—and in all events,

Skywave cannot even attempt to plead around the wealth of public information available to it

before October 2020 that linked Defendants to 10Band.

         Skywave nonetheless attempts to plead around this defect by claiming it “was not aware of

any information that Jump Trading or Virtu were affiliated with 10Band as managing entities of



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                                              Available                                            at
https://wireless2.fcc.gov/UlsEntry/attachments/attachmentViewRD.jsp?applType=search&fileKe
y=1307651602&attachmentKey=20870671&attachmentInd=applAttach. The Court may consider
these records in determining whether Skywave had sufficient constructive notice. Baker v. Atl.
Richfield Co., 2021 WL 3726050, at *1 (N.D. Ind. Aug. 23, 2021) (“Public records—such as court
orders, agency decisions, administrative body reports, and government websites—are appropriate
subjects of judicial notice.” (collecting cases)); Schmude v. Sheahan, 312 F. Supp. 2d 1047, 1064
(N.D. Ill. 2004) (“[I]t is routine for courts to take judicial notice of both newspaper articles and
court records, among other things.”); accord Osundairo v. Geragos, 447 F. Supp. 3d 727, 740 n.8
(N.D. Ill. 2020) (applying Schmude and taking judicial notice of a Chicago Tribune article).

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the HFT Enterprise.” FAC ¶ 136; see also Dkt. 7, Compl. ¶ 61 (“At that time, Skywave was not

aware of any information confirming the rumors that Jump or Virtu were affiliated with 10Band

. . . .” (emphasis added)). That cannot rescue Skywave’s untimely claim. Plaintiffs are “not allowed

to bury their heads in the sand—to know you’ve been injured and make no effort to find out by

whom is the very laxity that statutes of limitations are designed to penalize.” Cancer Found., 559

F.3d at 676. Based on public records, Skywave easily could have confirmed that Jump Trading and

Virtu were affiliated with 10Band before October 2020. See Eckstein v. Balcor Film Invs., 58 F.3d

1162, 1168–69 (7th Cir. 1995) (claims barred under the statute of limitations where registration

statements available to the plaintiffs furnished information about the defendants).

          Indeed, it requires almost no effort to connect the Defendants and entities named in Exhibit

2 of the FAC—again, a publicly available May 2020 chart setting forth 10Band’s owners filed with

the FCC—to Jump Trading or Virtu. For example, the same chart identifies Jump Trading’s co-

founders—Defendants DiSomma and Gurinas—as indirect owners of 10Band. See FAC, Ex. 2.

That Defendants DiSomma and Gurinas are the owners of Jump Trading, LLC and Jump Financial,

LLC is very well known and has been well known for more than a decade. Citing just some

judicially noticeable sources on this point: as early as 2008, Jump Financial, LLC’s registration

with the Illinois Secretary of State (also available online) listed William DiSomma and Paul A.

Gurinas as managers. See Sahni Decl., Ex. G 11; see also id., Ex. H 12 (publicly available

“BrokerCheck” database run by the Financial Industry Regulatory Authority listing DiSomma and

Gurinas as associated with Jump Trading since 2006, and listing Madigan as associated with Jump




11
     Available at https://apps.ilsos.gov/businessentitysearch/businessentitysearch.
12
     Available at https://brokercheck.finra.org/.

                                                    31
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Trading since 2017); id., Ex. I. 13 Defendant John Madigan was also identified in dozens of public

applications and other filings with the FCC as the individual to contact for New Line Networks,

see, e.g., id., Ex. J 14; id., Ex. K 15; id., Ex. L 16, and in at least six such filings as the individual to

contact for 10Band LLC, see, e.g., id., Ex. M 17; id., Ex. N 18; id., Ex. O19—all before October 2020.

Finally, at least as early as 2018, news articles publicly announced that New Line Networks LLC—

which owns 10Band LLC, as set forth on Exhibit 2 to the FAC—is a “joint venture of Chicago-

based Jump Trading LLC and New York-based Virtu Financial Inc., according to Kane County

records,” and that “public records point to [New Line Networks’] testing the idea of using

shortwave technology to convey data between the CME facility and key exchanges around the

globe.” See id., Ex. E 20; see also id. Ex. F 21 (2019 Bloomberg article also announcing that New

Line Networks LLC is a “joint venture of Chicago’s Jump Trading LLC and Virtu Financial Inc.”).

         Moreover, “discovery of the injury, not discovery of the other elements of a claim, is what

starts the clock.” Rotella, 528 U.S. at 555. Here, Skywave knew of its injury when Investor 1 exited


13
  Available at
http://online.wsj.com/article/SB10001424052702303918204577447222628346192.html.
14
   Available at
https://wireless2.fcc.gov/UlsApp/ApplicationSearch/applMain.jsp?applID=11637775.
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https://wireless2.fcc.gov/UlsApp/ApplicationSearch/applMain.jsp?applID=11472072.
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https://wireless2.fcc.gov/UlsApp/ApplicationSearch/applMain.jsp?applID=11472086.
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https://wireless2.fcc.gov/UlsApp/ApplicationSearch/applMain.jsp?applID=11472093.
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   Available at https://www.bloomberg.com/news/articles/2018-06-18/hft-traders-dust-off-19th-
century-tool-in-search-of-market-edge.
21
  Available at https://www.bloomberg.com/news/features/2019-03-08/the-gazillion-dollar-
standoff-over-two-high-frequency-trading-towers.

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the partnership, citing concerns about “use [of] 10Band’s shortwave transmitter under an

Experimental License for Commercial Trading.” See FAC ¶ 136–37. Notably, even Skywave’s

2023 Petition for Reconsideration to the FCC of 10Band’s August 2023 license renewal grant came

more than six years after it alleges it knew it was injured. Skywave could have timely challenged

10Band’s earlier grants and renewals—including those granted in 2020 and 2021, see, e.g., id.

¶¶ 67, 72, well after it knew of its injuries—but chose not to. The time for doing so has long since

passed. 22

         Simply put, Skywave knew of its alleged financial injury and the supposed causes of that

injury seven years ago. It further knew of every Defendant’s alleged connection to that harm by

around that time, and to the extent it chose to avoid such knowledge in the face of “rumors” and

public records making abundantly clear the individuals and entities affiliated with 10Band, such

willful blindness cannot toll the limitations period. Skywave is at least three years too late.

                                            CONCLUSION

         For the reasons set forth above, Defendants respectfully submit that this matter should be

dismissed in its entirety with prejudice.




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  Thus, even if Skywave were made to wait until after it exhausted its administrative remedies to
bring suit and any limitations period was tolled in the interim, see Section I, supra, it would still
be too late.

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Dated: April 21, 2025                                  Respectfully submitted,

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